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 NOT FOR PUBLICATION                                                       (Doc. Nos. 37, 38)

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                  CAMDEN VICINAGE

 ___________________________________
                                     :
 JERSEY DATACOMM & CABLE, INC., :
                                     :
                         Plaintiff,  :               Civil No. 14-4459 (RBK/KMW)
                                     :
             v.                      :               ORDER
                                     :
 WALKER AND ASSOCIATES, INC.,        :
                                     :
                         Defendant.  :
 ___________________________________ :

 KUGLER, United States District Judge:

        THIS MATTER having come before the Court upon Defendant’s Motion to Exclude

 Pursuant to Rule 37(c)(1) (Doc. No. 37), and Defendant’s Motion to Exclude Expert Testimony

 Pursuant to Fed. R. Evid. 702 (Doc. No. 38) and the Court having considered the moving papers

 and responses thereto, and for the reasons expressed on the record;

        IT IS HEREBY ORDERED that Defendant’s Motion to Exclude Pursuant to Rule

 37(c)(1) is DENIED;

        IT IS HEREBY FURTHER ORDERED that Defendant has leave to take a deposition

 from Vladimir Shapiro;

        IT IS HEREBY FURTHER ORDERED that Defendant’s Motion to Exclude Expert

 Testimony under Fed. R. Evid. 702 is GRANTED IN PART as to Jack Palmer’s salary and

 otherwise DENIED;

        IT IS HEREBY FURTHER ORDERED that Defendant has leave to take a deposition

 from Christopher Young;

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          IT IS HEREBY FURTHER ORDERED that the parties shall appear for a Daubert

 hearing on Friday, December 2, 2016 at 11:00 A.M. in Courtroom 4D of the Mitchell H. Cohen

 United States Courthouse, 1 John F. Gerry Plaza, Camden, N.J. 08101.



 Dated:    10/26/2016                                            s/Robert B. Kugler
                                                                 ROBERT B. KUGLER
                                                                 United States District Judge




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